
282 So.2d 167 (1973)
WASHINGTON FEDERAL SAVINGS AND LOAN ASSOCIATION OF MIAMI BEACH, Petitioner,
v.
Fred O. DICKINSON, Jr., Comptroller of Florida, and ex-Officio State Banking Commissioner, Respondent.
No. 44020.
Supreme Court of Florida.
July 18, 1973.
Rehearing Denied September 26, 1973.
Robert M. Ervin, F. Perry Odom and Thomas M. Ervin, Jr., of Ervin, Varn, Jacobs &amp; Odom, Tallahassee, and Michael H. Salmon, of Courshon &amp; Courshon, Miamia Beach, for petitioner.
Mallory H. Horton, of Horton &amp; Perse, and Larry E. Levy, for respondent.
PER CURIAM.
This cause is before this Court on conflict certiorari granted to review the decision of the District Court of Appeal, Third District, reported at 281 So.2d 603 (Fla.App., 1973).
The historical background, factual situation, and questions of law, and the decision sub judice appear in the opinion of the District Court of Appeal in this cause, and in the interest of brevity, will not be repeated here. We have heard oral argument, examined the record and considered the briefs and are of the opinion that the Third District Court of Appeal correctly decided the case, and their opinion is therefore adopted as the decision of this Court.
*168 No error appearing, the writ of certiorari heretofore issued is hereby discharged.
It is so ordered.
CARLTON, C.J., and ROBERTS, ADKINS, BOYD and McCAIN, JJ., concur.
